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                     EXHIBIT A

                    No-Basis Claims
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                                                          Exhibit A
                                                        No-Basis Claims


Claim to be Expunged
                                      Claim Number
                                      Date Filed                  Total Amount         Reason for
Name/Address of Claimant              Case Info                      Claimed           Disallowance

CHAPMAN, JAMES L                      2728                        $149,000.00 (S)      Based on careful review of the Debtors' Books and Records, their
P.O. BOX 1111                         9/8/09                                - (A)      Schedules, and the proofs of claim, including any supporting
CREEDMOOR, NC 27522                   NO DEBTOR                             - (P)      documentation provided by the claimant, the Debtors have
                                                                            - (U)      determined that there is no amount due and owing by any of the
                                                                  $149,000.00 (T)      Debtors to the claimant with respect to such claim and none of the
                                                                                       Debtors in these chapter 11 cases is liable for the claim.

CIRILO, ELLEN P                       2117                            Unspecified*     Based on careful review of the Debtors' Books and Records, their
1045 E. GREEN ST.                     8/24/09                                          Schedules, and the proofs of claim, including any supporting
PASADENA, CA 91106                    NO DEBTOR                                        documentation provided by the claimant, the Debtors have
                                                                                       determined that there is no amount due and owing by any of the
                                                                                       Debtors to the claimant with respect to such claim and none of the
                                                                                       Debtors in these chapter 11 cases is liable for the claim.

CLAY, RANDAL                          7479                                   - (S)     The Claim asserts liability for termination benefits.
436 FOX TRAIL                         10/29/10                               - (A)
ALLEN, TX 75002                       09-12515                               - (P)     Based on careful review of the Debtors' Books and Records, their
                                      Nortel Networks              $54,992.00 (U)      Schedules, and the proofs of claim, including any supporting
                                      (CALA), Inc.                 $54,992.00 (T)      documentation provided by the claimant, the Debtors have
                                                                                       determined that there is no amount due and owing by any of the
                                                                                       Debtors to the claimant with respect to such claim and none of the
                                                                                       Debtors in these chapter 11 cases is liable for the claim.

COAKLEY, BILLY W. SR.                 2885                                  - (S)      The Claim asserts liability for termination benefits.
573 VERONICA RD.                      9/14/09                               - (A)
GEORGETOWN, SC 29440                  09-10138                      $7,666.00 (P)      Based on careful review of the Debtors' Books and Records, their
                                      Nortel Networks Inc.          $7,666.00 (U)      Schedules, and the proofs of claim, including any supporting
                                                                    $7,666.00 (T)      documentation provided by the claimant, the Debtors have
                                                                                       determined that there is no amount due and owing by any of the
                                                                                       Debtors to the claimant with respect to such claim and none of the
                                                                                       Debtors in these chapter 11 cases is liable for the claim.

COAKLEY, BILLY W. SR.                 7086                                  - (S)      The Claim asserts liability for termination benefits.
573 VERONICA RD.                      2/8/10                                - (A)
GEORGETOWN, SC 29440                  09-12515                      $7,618.00 (P)      Based on careful review of the Debtors' Books and Records, their
                                      Nortel Networks                       - (U)      Schedules, and the proofs of claim, including any supporting
                                      (CALA), Inc.                  $7,618.00 (T)      documentation provided by the claimant, the Debtors have
                                                                                       determined that there is no amount due and owing by any of the
                                                                                       Debtors to the claimant with respect to such claim and none of the
                                                                                       Debtors in these chapter 11 cases is liable for the claim.


(S) - Secured                                                                                                                                  Page 1 of 6
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                                                                Exhibit A
                                                              No-Basis Claims


Claim to be Expunged
                                            Claim Number
                                            Date Filed                  Total Amount         Reason for
Name/Address of Claimant                    Case Info                      Claimed           Disallowance

COAKLEY, BILLY WAYNE SR.                    7087                                  - (S)      The Claim asserts liability for termination benefits.
573 VERONICA ROAD                           2/8/10                        $7,618.00 (A)
GEORGETOWN, SC 29440                        09-12515                              - (P)      Based on careful review of the Debtors' Books and Records, their
                                            Nortel Networks                       - (U)      Schedules, and the proofs of claim, including any supporting
                                            (CALA), Inc.                  $7,618.00 (T)      documentation provided by the claimant, the Debtors have
                                                                                             determined that there is no amount due and owing by any of the
                                                                                             Debtors to the claimant with respect to such claim and none of the
                                                                                             Debtors in these chapter 11 cases is liable for the claim.

GOMEZ, MAGDALENA                            2961                            Unspecified*     Based on careful review of the Debtors' Books and Records, their
22 - 406 AVE DES PINS OUEST                 9/14/09                                          Schedules, and the proofs of claim, including any supporting
MONTREAL, QC H2W 1S2                        NO DEBTOR                                        documentation provided by the claimant, the Debtors have
CANADA                                                                                       determined that there is no amount due and owing by any of the
                                                                                             Debtors to the claimant with respect to such claim and none of the
                                                                                             Debtors in these chapter 11 cases is liable for the claim.

CITIZEN BANK                                6315                                  - (S)      Based on careful review of the Debtors' Books and Records, their
(FILED BY HALLORAN, ROBERT J.)              12/18/09                    $122,000.00 (A)      Schedules, and the proofs of claim, including any supporting
2 COLE ST.                                  09-12515                              - (P)      documentation provided by the claimant, the Debtors have
SALEM, NH 03079                             Nortel Networks                       - (U)      determined that there is no amount due and owing by any of the
                                            (CALA), Inc.                $122,000.00 (T)      Debtors to the claimant with respect to such claim and none of the
                                                                                             Debtors in these chapter 11 cases is liable for the claim.

HALLORAN, ROBERT J                          2203                            Unspecified*     The Claim asserts liability for "mortgage".
2 COLE ST                                   8/26/09
SALEM, NH 03079                             NO DEBTOR                                        Based on careful review of the Debtors' Books and Records, their
                                                                                             Schedules, and the proofs of claim, including any supporting
                                                                                             documentation provided by the claimant, the Debtors have
                                                                                             determined that there is no amount due and owing by any of the
                                                                                             Debtors to the claimant with respect to such claim and none of the
                                                                                             Debtors in these chapter 11 cases is liable for the claim.




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Claim to be Expunged
                                       Claim Number
                                       Date Filed                  Total Amount         Reason for
Name/Address of Claimant               Case Info                      Claimed           Disallowance

HALLORAN, ROBERT J                     6314                            Unspecified*     The Claim asserts benefits/payments related to, among other things,
2 COLE ST                              12/18/09                                         house, mortgage, taxes and car insurance.
SALEM, NH 03079                        09-12515
                                       Nortel Networks                                  Based on careful review of the Debtors' Books and Records, their
                                       (CALA), Inc.                                     Schedules, and the proofs of claim, including any supporting
                                                                                        documentation provided by the claimant, the Debtors have
                                                                                        determined that there is no amount due and owing by any of the
                                                                                        Debtors to the claimant with respect to such claim and none of the
                                                                                        Debtors in these chapter 11 cases is liable for the claim.

HAYDOCK, JOSEPH                        2188                                  - (S)      The Claim asserts liability for termination benefits.
613 ARCHIE PLACE                       8/25/09                               - (A)
SYCAMORE, IL 60178                     NO DEBTOR                    $60,000.00 (P)      Based on careful review of the Debtors' Books and Records, their
                                                                             - (U)      Schedules, and the proofs of claim, including any supporting
                                                                    $60,000.00 (T)      documentation provided by the claimant, the Debtors have
                                                                                        determined that there is no amount due and owing by any of the
                                                                                        Debtors to the claimant with respect to such claim and none of the
                                                                                        Debtors in these chapter 11 cases is liable for the claim.

KLINE, ANDRIA                          6961                                  - (S)      The Claim asserts liability for termination benefits.
7612 FLAMINGO WAY                      1/25/10                               - (A)
SACRAMENTO, CA 95828-3430              09-12515                     $40,000.00 (P)      Based on careful review of the Debtors' Books and Records, their
                                       Nortel Networks                       - (U)      Schedules, and the proofs of claim, including any supporting
                                       (CALA), Inc.                 $40,000.00 (T)      documentation provided by the claimant, the Debtors have
                                                                                        determined that there is no amount due and owing by any of the
                                                                                        Debtors to the claimant with respect to such claim and none of the
                                                                                        Debtors in these chapter 11 cases is liable for the claim.

REYMANN, MICHAEL H                     1742                            Unspecified*     The Claim asserts liability for contributions to employee benefit plans.
37805 REMINGTON DR                     8/17/09
PURCELLVILLE, VA 22132                 NO DEBTOR                                        Based on careful review of the Debtors' Books and Records, their
                                                                                        Schedules, and the proofs of claim, including any supporting
                                                                                        documentation provided by the claimant, the Debtors have
                                                                                        determined that there is no amount due and owing by any of the
                                                                                        Debtors to the claimant with respect to such claim and none of the
                                                                                        Debtors in these chapter 11 cases is liable for the claim.




(S) - Secured                                                                                                                                    Page 3 of 6
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Claim to be Expunged
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Name/Address of Claimant                        Case Info                      Claimed           Disallowance

SEPULVEDA (CIRILO), ELLEN                       2116                            Unspecified*     Based on careful review of the Debtors' Books and Records, their
1045 E GREEN STREET                             8/24/09                                          Schedules, and the proofs of claim, including any supporting
PASADENA, CA 91106                              09-10138                                         documentation provided by the claimant, the Debtors have
                                                Nortel Networks Inc.                             determined that there is no amount due and owing by any of the
                                                                                                 Debtors to the claimant with respect to such claim and none of the
                                                                                                 Debtors in these chapter 11 cases is liable for the claim.

SIMMONS, LORAINE                                7914                            Unspecified*     The Claim asserts liability for services performed.
324-3 MONA DRIVE                                8/23/11
DOTHAN, AL 36303                                NO DEBTOR                                        Based on careful review of the Debtors' Books and Records, their
                                                                                                 Schedules, and the proofs of claim, including any supporting
                                                                                                 documentation provided by the claimant, the Debtors have
                                                                                                 determined that there is no amount due and owing by any of the
                                                                                                 Debtors to the claimant with respect to such claim and none of the
                                                                                                 Debtors in these chapter 11 cases is liable for the claim.

THOMAS, DELORIS F                               2103                                   - (S)     The Claim asserts liability for benefits/payments related to, among
101 EAST TIFFANY LAKES DR., APT. 4              8/24/09                                - (A)     other things, medical, loans, mortgage, goods, condo repairs and
WEST PALM BEACH, FL 33407                       NO DEBTOR                              - (P)     domestic support obligations.
                                                                             $18,000.00 (U)
                                                                             $18,000.00 (T)      Based on careful review of the Debtors' Books and Records, their
                                                                                                 Schedules, and the proofs of claim, including any supporting
                                                                                                 documentation provided by the claimant, the Debtors have
                                                                                                 determined that there is no amount due and owing by any of the
                                                                                                 Debtors to the claimant with respect to such claim and none of the
                                                                                                 Debtors in these chapter 11 cases is liable for the claim.

THOMAS, DELORIS F                               6576                            Unspecified*     The Claim asserts liability for benefits/payments related to, among
101 EAST TIFFANY LAKES DR APT 4                 1/4/10                                           other things, medical, loans, mortgage, goods, condo repairs and
WEST PALM BEACH, FL 33407                       09-12515                                         domestic support obligations.
                                                Nortel Networks
                                                (CALA), Inc.                                     Based on careful review of the Debtors' Books and Records, their
                                                                                                 Schedules, and the proofs of claim, including any supporting
                                                                                                 documentation provided by the claimant, the Debtors have
                                                                                                 determined that there is no amount due and owing by any of the
                                                                                                 Debtors to the claimant with respect to such claim and none of the
                                                                                                 Debtors in these chapter 11 cases is liable for the claim.




(S) - Secured                                                                                                                                            Page 4 of 6
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Claim to be Expunged
                                               Claim Number
                                               Date Filed                  Total Amount         Reason for
Name/Address of Claimant                       Case Info                      Claimed           Disallowance

THOMAS, DELORIS F                              6577                                  - (S)      The Claim asserts liability for benefits/payments related to, among
101 EAST TIFFANY LAKES DR., APT 4              1/4/10                                - (A)      other things, medical, loans, mortgage, goods, condo repairs and
WEST PALM BEACH, FL 33407                      09-12515                    $300,000.00 (P)      domestic support obligations.
                                               Nortel Networks                       - (U)
                                               (CALA), Inc.                $300,000.00 (T)      Based on careful review of the Debtors' Books and Records, their
                                                                                                Schedules, and the proofs of claim, including any supporting
                                                                                                documentation provided by the claimant, the Debtors have
                                                                                                determined that there is no amount due and owing by any of the
                                                                                                Debtors to the claimant with respect to such claim and none of the
                                                                                                Debtors in these chapter 11 cases is liable for the claim.

THOMAS, DELORIS S.                             2102                            Unspecified*     The Claim asserts liability for benefits/payments related to, among
101 EAST TIFFANY DRIVE APT# 4                  8/24/09                                          other things, medical, loans, mortgage, goods, condo repairs and
WEST PALM BEACH, FL 33407                      09-10146                                         domestic support obligations.
                                               Nortel Networks
                                               Applications                                     Based on careful review of the Debtors' Books and Records, their
                                               Management                                       Schedules, and the proofs of claim, including any supporting
                                               Solutions Inc.                                   documentation provided by the claimant, the Debtors have
                                                                                                determined that there is no amount due and owing by any of the
                                                                                                Debtors to the claimant with respect to such claim and none of the
                                                                                                Debtors in these chapter 11 cases is liable for the claim.

VAN, RICHARD A                                 1724                                   - (S)     The Claim asserts liability for services performed.
42106 COSMIC DR                                8/17/09                                - (A)
TEMECULA, CA 92592-3279                        NO DEBTOR                              - (P)     Based on careful review of the Debtors' Books and Records, their
                                                                            $40,000.00 (U)      Schedules, and the proofs of claim, including any supporting
                                                                            $40,000.00 (T)      documentation provided by the claimant, the Debtors have
                                                                                                determined that there is no amount due and owing by any of the
                                                                                                Debtors to the claimant with respect to such claim and none of the
                                                                                                Debtors in these chapter 11 cases is liable for the claim.

WATSON, JOHN JR                                3289                                  - (S)      The Claim asserts liability for termination benefits.
4638 COLONIAL AVE                              9/21/09                               - (A)
JACKSONVILLE, FL 32210                         NO DEBTOR                    $23,000.00 (P)      Based on careful review of the Debtors' Books and Records, their
                                                                                     - (U)      Schedules, and the proofs of claim, including any supporting
                                                                            $23,000.00 (T)      documentation provided by the claimant, the Debtors have
                                                                                                determined that there is no amount due and owing by any of the
                                                                                                Debtors to the claimant with respect to such claim and none of the
                                                                                                Debtors in these chapter 11 cases is liable for the claim.



(S) - Secured                                                                                                                                           Page 5 of 6
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                                                                                         No-Basis Claims


Claim to be Expunged
                                                                        Claim Number
                                                                        Date Filed                      Total Amount              Reason for
Name/Address of Claimant                                                Case Info                          Claimed                Disallowance

 Totals:                                                                21 Claims                       $149,000.00 (S)
                                                                                                        $129,618.00 (A)
                                                                                                        $438,284.00 (P)
                                                                                                        $120,658.00 (U)
                                                                                                        $829,894.00 (T)

   * The term "unspecified" refers to claims for dollar amounts listed as "unknown", "$0.00", "unascertainable", "undetermined", or where no dollar amounts were entered in the spaces provided on
   the proof of claim form.




(S) - Secured                                                                                                                                                                            Page 6 of 6
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